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                                                    U.S. Trustee Monthly Operating Report

Fill in this information to identify the case:


Debtor Name:                Upper Cuts Gentlemen's Grooming Place, LLC                                                    Check if this is an
                                                                                                                           amended filing.
United States Bankruptcy court for:                            District of   Columbia

Case Number:                18-00781



Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11

Month:                      December                          Date Report Filed:        1/24/2019
                                                                                                    MM/DD/YYYY
Line of Business:                                             NAISC Code:                2111



IN ACCORDANCE WITH TITLE 2B, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER PENALTY OF PERJURY THAT I
HAVE EXAMINED THE FOLLOWING SMALL BUSINESS MONTHLY OPERATING REPORT AND THE ACCOMPANYING ATTACHMENTS
AND, TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.

 /s/ Mark McIntosh                                                                       1/24/2019
ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                                 DATE REPORT SIGNED

 Mark McIntosh, Owner
PRINTED NAME OF RESPONSIBLE PARTY AND POSITION WITH THE DEBTOR

1. QUESTIONNAIRE:
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

IF YOU ANSWER NO TO ANY QUESITONS IN LINES 1-9, ATTACH AN EXPLANATION
                       AND LABEL IT EXHIBIT A .                                                       YES         NO             N/A
     1        DID THE BUSINESS OPERATE DURING THE ENTIRE REPORTING PERIOD?                             X
     2        DO YOU PLAN TO CONTINUE TO OPERATE THE BUSINESS NEXT MONTH?                              X
     3        HAVE YOU PAD ALL OF YOUR BILLS ON TIME                                                   X
     4        DID YOU PAY YOUR EMPLOYEES ON TIME?                                                      X
     5        HAVE YOU DEPOSITED ALL THE RECEIPTS FOR YOUR BUSINESS INTO DEBTOR
              IN POSSESSION (DIP) ACCOUNTS?                                                            X
     6
              HAVE YOU TIMELY FILED YOUR TAX RETURNS AND PAID ALL OF YOUR TAXES?                       X
     7        HAVE YOU TIMELY FILED ALL OTHER REQUIRED GOVERNMENT FILINGS?                             X
     8        ARE YOU CURRENT ON YOUR QUARTERLY FEE PAYMENTS TO THE U.S.
              TRUSTEE OR BANKRUPTCY ADMINISTRATOR?                                                     X
     9         HAVE YOU TIMELY PAID ALL OF YOUR INSURANCE PREMIUMS?                    X
          IF YOU ANSWER YES TO ANY OF THE QUESTIONS IN LINES 10-18, ATTACH AN EXPLANATION AND LABEL IT EXHIBIT B .

                                                                                                      YES         NO             N/A
     10       DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT?                           X
     11       HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY?                                                      X
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   12     HAVE YOU SOLD OR TRANSFERRED ANY ASSETS OR PROVIDED SERVICES TO
          ANYONE RELATED TO THE DIP IN ANY WAY?                                                                      X
   13     DID ANY INSURANCE COMPANY CANCEL YOUR POLICY?                                                              X
   14     DID YOU HAVE ANY UNUSUAL OR SIGNIFICANT UNANTICIPATED EXPENSES?                                            X
   15     HAVE YOU BORROWED MONEY FROM ANYONE OR HAS ANYONE MADE ANY
          PAYMENTS ON YOUR BEHALF?                                                                                   X
   16     HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS?                                                            X
   17     HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?                                   X
   18     HAVE YOU ALLOWED ANY CHECKS TO CLEAR THE BANK THAT WERE ISSUED
          BEFORE YOU FILED BANKRUPTCY?                                                                               X


2. SUMMARY OF CASH ACTIVITY FOR ALL ACCOUNTS

   19     Total opening balance of all accounts                                                                                  $737.48
          This amount must equal what you reported as cash on hand at the end of the month in the previous month. If
          this is your first report, report the total cash on hand as of the date of the filing of this case.

   20     Total Cash Receipts
          Attach a listing of all cash received for the month and label it Exhibit C . Include all cash
          received even if you have not deposited it at the bank, collections on receivables, credit
          card deposits, cash received from other parties, or loans, gifts, or payments made by
          other parties on your behalf. Do not attach bank statements in lieu of Exhibit C .

          Report the total from Exhibit C here.                                                                 $53,601.35

   21     Total Cash Disbursements
          Attach a listing of all payments you made in the month and label it Exhibit D . List the
          date paid, payee, purpose, and amount. Include all cash payments, debit card
          transactions, checks issued even if they have not cleared the bank, outstanding checks
          issued before the bankruptcy was filed that were allowed to clear this month, and
          payments made by other parties on your behalf. Do not attach bank statements in lieu of
          Exhibit D .

          Report the total from Exhibit D here.                                                                 $46,653.22

   22     Net Cash Flow                                                                                          $6,948.13
          Subtract line 21 from 20 and report the result her. This amount may be different from
          what you may have calculated as net profit.

   23     Cash on hand at the end of the month
          Add line 22 + line 19. Report the result here.                                                                        $7,685.61

          Report this figure as the cash on hand at the beginning of the month on your next operating report.

          This amount may not match your bank account balance because you may have outstanding checks that have
          not cleared the bank or deposits in transit.

3. UNPAID BILLS

          Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but have
          not paid. Label it Exhibit E . Include the date the debt was incurred, who is owed the money, the purspose of the
          debt, and when the debt is due. Report the total from Exhibit E here.
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   24    Total Payables                                                                                                       $23,332.39

                     (Exhibit E)

4. MONEY OWED TO YOU

         Attach a list of all amounts owed to you by your customers for work you have done or merchandise you have
         sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F. Identify who
         owes you money, how much is owed, and when payment is due. REport the total from Exhibit F here.

   25    Total Receivables                                                                                                             $0.00
                     (Exhibit F)

5. EMPLOYEES

   26    What was the number of employees when the case was filed?                                                               6

   27    What is the number of employees as of the date of this report?                                                          6

6. PROFESSIONAL FEES

   28    How much have you paid this month in professional fees related to this bankruptcy case?                              $10,000.00

   29    How much in professional fees related to this bankruptcy case since the case was filed?                              $10,000.00

   30    How much have you paid this month in other professional fees?                                                            $400.00

   31    How much have you paid in total other professional fees since filing this case?                                          $400.00

7. PROJECTIONS


         Compare your actual cash receipts and disburesements to what you projected in the previous month. Projected
         figures in the first month should match those provided at the initial debtor interview, if any.

                                   Column A                               Column B                            Column C
                                           Projected                               Actual                               Difference
                                   Copy lines 35-37 from                  Copy lines 20-22 of this            Subtract Column B from
                                   the previous month's                   report.                             Column A.
                                   report.


   32    Cash Receipts                                            -                  $53,601.35        =                      ($53,601.35)

   33    Cash Disbursements                                       -                  $46,653.22        =                      ($46,653.22)

   34    Net Cash Flow                                            -                                    =                               $0.00


   35    Total projected cash receipts for the next month:                                                                    $55,000.00

   36    Total projected cash disbursements for the next month:                                                               $50,000.00

   37    Total projected net cash flow for the next month:                                                                      $5,000.00
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(IF ACTUAL CASH PROFIT WAS 90% OR LESS THAN PROJECTED CASH PROFIT, PLEASE INCLUDE A DETAILED
WRITTEN EXPLANATION.)




8. ADDITIONAL INFORMATION

         If available, check the box to the left and attach copies of the following documents.

   38         X                    Bank statements for each open account (redact all but the last 4 digits of the account numbers.

   39         X                    Bank reconciliation reports for each account including list of outstanding checks.

   40                              Financial reports such as an income statement (profit/loss), balance sheet, and cash flow statement.

   41         X                    Budget, projection, or forecast reports.

   42                              Project, job costing, or work-in-progress reports.

                          RECONCILIATION OF CASH DISBURSEMENTS
CASH DISBURSEMENTS PER FORM 4A-2                                                                                                     44,256.21
CASH DISBURSEMENTS PER SUM OF FORM 4A-3                                                                                              23,785.92
CASH DISBURSEMENTS PER FORM 4D                                                                                                       46,653.22
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               UPPER CUTS GENTLEMEN'S GROOMING
DEBTOR:        PLACE                                                         CASE NO:            18-00718



                  CASH RECEIPTS AND DISBURSEMENTS STATEMENT FORM SB-2
                                     For Period:    12/07/18   to         12/31/18


CASH FLOW SUMMARY                                                         Current
                                                                          Month              Accumulated

1. Beginning Cash Balance                                       $             737.48 (1) $                 (1)

2. Cash Receipts
     Operations                                                            53,601.35
     Sale of Assets NOTE: See (B) Below:
     Loans/advances
     Other

     Total Cash Receipts                                       $           53,601.35    $           0.00

3. Cash Disbursements
     Operations                                                $           32,539.21    $
     Debt Service/Secured loan payment
     Professional fees/U.S. Trustee fees                                   11,717.00
     Payments made from asset sale: NOTE: See (C) Below.
     Other

     Total Cash Disbursements                                  $           44,256.21    $           0.00

4. Net Cash Flow (Total Cash Receipts less
     Total Cash Disbursements)                                 $            9,345.14    $           0.00


5 Ending Cash Balance                                          $           10,082.62 (2) $    #VALUE!      (2)



CASH BALANCE SUMMARY See Note (A) below.                                                        Book

  Petty Cash                                                In Register                 $         400.00
  DIP Operating Account                                                                 $
  DIP State Tax Account                                                                 $
  DIP Payroll Account                                                                   $
  Other Operating Account                                  4348142061                   $       3,704.11
  Other Interest-bearing Account                                                        $

  TOTAL (must agree with Ending Cash Balance above)                                     $       4,104.11 (2)
  Variance between Ending Cash Balance and Ending Book Balances:                                5,978.51

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.
(B) This figure should include the gross amount the seller receives from the sale. On a HUD-1, this would be
(C) This figure should include all reductions paid by the debtor for the sale of of asset(s). On a HUD-1, this w
(1) Accumulated beginning cash balance is the cash available at the commencement of the case.
    Current month beginning cash balance should equal the previous month's ending balance.
(2) All cash balances should be the same.
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DEBTOR:           UPPER CUTS GENTLEMEN'S GROOMING PLAC                        CASE NO:        18-00718


                                                       Form SB-3
                     CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)
                                          FOR THE PERIOD 12/07/2018 TO 12/31/2018

CASH RECEIPTS DETAIL                                   Account No:
(attach additional sheets as necessary)

        Date                   Payer                                  Description            Amount
       12/07                  DEPOSIT                                                    $     3,000.00
       12/07         TD MERCHANT SVS DEPOSIT                                             $     2,273.20
       12/10        ES CR, TD MERCHANT SVS DE                                            $     2,643.61
       12/10        ES CR, TD MERCHANT SVS DE                                            $     1,019.95
       12/10        ES CR, TD MERCHANT SVS DE                                            $       319.00
       12/11        ES CR, TD MERCHANT SVS DE                                            $     1,837.51
       12/12        ES CR, TD MERCHANT SVS DE                                            $     2,080.00
       12/13        ES CR, TD MERCHANT SVS DE                                            $     1,538.67
       12/13        DEPOSIT, AUT 121318 ATM CA                                           $     2,150.00
       12/14        DEPOSIT, AUT 121318 ATM CA                                           $       240.00
       12/17        ES CR, TD MERCHANT SVS DE                                            $     2,898.55
       12/17        ES CR, TD MERCHANT SVS DE                                            $     1,464.83
       12/17        ES CR, TD MERCHANT SVS DE                                            $       647.30
       12/18        ES CR, TD MERCHANT SVS DE                                            $     1,925.62
       12/19        ES CR, TD MERCHANT SVS DE                                            $     2,490.85
       12/20        ES CR, TD MERCHANT SVS DE                                            $     1,951.52
       12/21        ES CR, TD MERCHANT SVS DE                                            $     2,154.15
       12/24        ES CR, TD MERCHANT SVS DE                                            $     2,150.90
       12/24        ES CR, TD MERCHANT SVS DE                                            $     1,192.60
       12/24        ES CR, TD MERCHANT SVS DE                                            $       452.10
       12/26        ES CR, TD MERCHANT SVS DE                                            $     1,657.42
       12/27        ES CR, TD MERCHANT SVS DE                                            $       828.62
       12/28        ES CR, TD MERCHANT SVS DE                                            $     1,514.70
       12/31        ES CR, TD MERCHANT SVS DE                                            $     2,365.65
       12/31        ES CR, TD MERCHANT SVS DE                                            $     1,090.75
       12/31        ES CR, TD MERCHANT SVS DE                                            $       683.85
       12/31        DEPOSIT, AUT 123118 ATM CA                                           $     1,330.00
       12/07         TRANSFER, From Checking 43                                          $     7,500.00
       12/07         TRANSFER, From Checking 43                                          $     2,200.00
                                                                                         $
                                                                                         $
                                                                                         $
                                                                                         $
                                                                                         $
                                                                                         $

                                                          Total Cash Receipts            $    53,601.35 (1)

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.

(1) Total for all accounts should agree with total cash receipts listed on Form SB-2.
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DEBTOR:             UPPER CUTS GENTLEMEN'S GROOMING PLACE                                            18-00718


                                                       Form SB-4
                    CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)



CASH DISBURSEMENTS DETAIL                                                    Account No:
(attach additional sheets as necessary)

         Date          Check No.                 Payee                   Description (Purpose)        Amount
         12/07           1244               AP Law Group                       Filing Fees      $        1,117.00
         12/07           1245               AP Law Group                      Legal Fees        $       10,000.00
         12/10           1243*              Steven Hawk                            Tips         $          238.30
         12/10           1247*              Dannon Cook                            Tips         $        1,121.78
         12/07           1250*              Alfred Graham                          Tips         $          858.07
         12/07           1251               Marcus Moore                           Tips         $          531.65
         12/14           1260*              Alfred Graham                        Payroll        $          978.49
         12/17           1261               Marcus Moore                         Payroll        $          348.63
         12/24           1263*               Nya Kindley                         Payroll        $          162.08
         12/31           1271*              Marcus Moore                         Payroll        $          781.28
         12/31           1272             Small Business Acct                    Payroll        $          400.00
         12/13           9000*              Credit Control                   Loan Payment       $          600.00
         12/07                                   Chase                       Card Payment       $          500.00
         12/07                               Ameriquest                Merchant Advance Paymen  $          381.33
         12/07                               Ameriquest                Merchant Advance Paymen  $          352.00
         12/07                                  Citibank                     Card Payment       $          300.00
         12/07                                   Exxon                             Gas          $           64.22
         12/07                              Brew Boutique                          Hair         $           45.00
         12/10                             Financial Pacific           Equipment Lease Payment  $        1,800.00
         12/10                              AP Law Group                       Filing Fees      $          600.00
         12/10                               Ameriquest                Merchant Advance Paymen  $          381.33
         12/10                               Ameriquest                Merchant Advance Paymen  $          352.00
 12/10             
                             Shell                             Gas          $           41.01
 12/10             
                         Prime Video                   Video Subscription   $           14.99
 12/10             
                         Ameriquest                Merchant Advance Paymen  $          381.33
 12/10             
                         Ameriquest                Merchant Advance Paymen  $          352.00
         12/11                                                                                  $           49.90
         12/11                           Community Car Care                  Oil Change         $           31.48
         12/12                              Ameriquest                Merchant Advance Paymen $            381.33
         12/12                              Ameriquest                Merchant Advance Paymen $            352.00
         12/12                            DC Child Services          D.Cook Child Support Payme $          231.62
         12/12                              Quickbooks                       Subscription       $           37.10

                                                                     Total Cash Disbursements $        $23,785.92 (1)

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.

(1) Total for all accounts should agree with total cash disbursements listed on Form 2-B, page 1
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DEBTOR:         December                                                                CASE NO:                18-00718


                                                    Form SB-7
                                            DISBURSEMENT SUMMARY
                                     For the Month Ended: 12/31/2018 0:00




   Total Disbursements from Operating Account (Note 1)                                  $                           46,653.22


   Total Disbursements from Payroll Account (Note 2)                                    $

   Total Disbursements from Tax Escrow Account (Note 3)                                 $

   Total Disbursements from and other Account (Note 4)                                  $


   Grand Total disbursements from all accounts                                          $                           46,653.22



   NOTE 1 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the general
   operating account. Exclude only transfers to the debtor in possession payroll account, the debtor in possession tax escrow
   account or other debtor in possession account where the disbursements will be listed on this report.


   NOTE 2 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the payroll
   account. Exclude only transfers to the debtor in possession operating account, the debtor in possession tax escrow account
   or other debtor in possession account where the disbursements will be listed on this report.


   NOTE 3 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the tax escrow
   account. Exclude only transfers to the debtor in possession operating account, the debtor in possession payroll account or
   other debtor in possession account where the disbursements will be listed on this report.

   NOTE 4 - Include in this amount any other disbursements made by the debtor including (but not limited to) cash paid from a
   petty cash fund or cash register, amounts paid from any other debtor in possession account, and amounts paid from the
   accounts of others on the debtors behalf (for example, disbursements made from a law firm's escrow account as a result of
   a sale of property.)


                                                     FEE SCHEDULE

In accordance with the Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72, the following website link will take you to
schedules which will apply for the calendar quarters beginning January 1, 2018 through September 30, 2018.

                                       www.justice.gov/ust/chapter-11-quarterly-fees



Interest will be assessed on Chapter 11 quarterly fees not paid by the end of the month following the end of the calander quarter
pursuant to 31 U.S.C. Sec. 3717. The interest rate assessed is the rate in effect as determined by the Treasury Department at the
time the account becomes past due.

Failure to pay the quarterly fee is cause for conversion or dismissal of the chapter 11 case. [11 U.S.C. Sec. 1112(b)(10)]
     Case 18-00781-SMT                            Doc 63           Filed 01/24/19 Entered 01/24/19 13:08:04                                                   Desc Main
                                                                  Document     Page 9 of 26 EXHIBIT B

10   DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT?
     " Yes, the original operating account ending in 2061 still receives the daily credit card deposits. The merchant processor in still in the process have getting it updated"

17   HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?
     "Yes, the merchant advance companies continued to process the daily ACHs until they received the filing"
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12/07       DEPOSIT                                                      $    3,000.00
12/07       CCD DEPOSIT, TD MERCHANT SVS DEPOSIT 958220476880            $    2,273.20
12/10       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    2,643.61
12/10       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    1,019.95
12/10       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $      319.00
12/11       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    1,837.51
12/12       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    2,080.00
12/13       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    1,538.67
12/13       ATM CASH DEPOSIT, AUT 121318 ATM CASH DEPOSIT                $    2,150.00
12/14       ATM CASH DEPOSIT, AUT 121318 ATM CASH DEPOSIT                $      240.00
12/17       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    2,898.55
12/17       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    1,464.83
12/17       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $      647.30
12/18       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    1,925.62
12/19       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    2,490.85
12/20       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    1,951.52
12/21       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    2,154.15
12/24       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    2,150.90
12/24       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    1,192.60
12/24       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $      452.10
12/26       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    1,657.42
12/27       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $      828.62
12/28       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    1,514.70
12/31       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    2,365.65
12/31       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $    1,090.75
12/31       MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT                $      683.85
12/31       ATM CASH DEPOSIT, AUT 123118 ATM CASH DEPOSIT                $    1,330.00
12/07       DEPOSIT TRANSFER, From Checking 4348139109                   $    7,500.00
12/07       DEPOSIT TRANSFER, From Checking 4354032975                   $    2,200.00
                                                                         $   53,601.35
          Case 18-00781-SMT                                                     Doc 63                    Filed 01/24/19 Entered 01/24/19 13:08:04 Desc Main
                                                                                                         Document     Page 11 of 26       EXHIBIT D
DATE    TRANSACTION                                                   PAYEE                 PURPOSE                        AMOUNT                DATE
12/07   1244                                                          AP Law Group          Filing Fees                 $ 1,117.00
12/07   1245                                                          AP Law Group          Legal Fees                  $ 10,000.00
12/10   1243*                                                         Steven Hawk           Tips                          $ 238.30
12/10   1247*                                                         Dannon Cook           Tips                        $ 1,121.78
12/07   1250*                                                         Alfred Graham         Tips                          $ 858.07
12/07   1251                                                          Marcus Moore          Tips                          $ 531.65
12/14   1260*                                                         Alfred Graham         Payroll                       $ 978.49
12/17   1261                                                          Marcus Moore          Payroll                       $ 348.63
12/24   1263*                                                         Nya Kindley           Payroll                       $ 162.08
12/31   1271*                                                         Marcus Moore          Payroll                       $ 781.28
12/31   1272                                                          Small Business Acct   Payroll                       $ 400.00
12/13   9000*                                                         Credit Control        Loan Payment                  $ 600.00
12/07   ACH SETTLEMENT, ACH BATCH UPPER CUTS GENTL                    Paul Davis            Tips                        $ 1,615.59
12/07   ACH SETTLEMENT, ACH BATCH UPPER CUTS GENTL                    Greg Colon; Lamont    Tips                        $ 2,498.42
                                                                      Whitmire
12/07   ELECTRONIC PMT-WEB, CHASE CREDIT CRD EPAY 3874890153          Chase                 Card Payment                  $ 500.00
12/07   CCD DEBIT, AMERIQUEST CAP PAYMENT OA801315                    Ameriquest            Merchant Advance              $ 381.33
12/07   CCD DEBIT, AMERIQUEST CAP PAYMENT OA801381                    Ameriquest            Merchant Advance              $ 352.00
12/07   ELECTRONIC PMT-WEB, CITI CARD ONLINE PAYMENT                  Citibank              Card Payment                  $ 300.00
12/07   DEBIT POS, AUT 120718 DDA PURCHASE HARRIS TE 4641 DUKE ST     Exxon                 Gas                            $ 64.22
        ALEXANDRIA * VA 4085404019895642
12/07   DEBIT POS, AUT 120718 DDA PURCHASE BOUTIQUE     ALEXANDRIA Brew Boutique            Hair                           $ 45.00
        * VA 4085404019895642
12/10   ACH SETTLEMENT, ACH BATCH UPPER CUTS GENTL                 Financial Pacific        Equipment Lease Payment     $ 1,800.00

12/10   DEBIT CARD PURCHASE, AUT 120718 VISA DDA PUR AP LAW GROUP AP Law Group              Filing Fees                   $ 600.00
        571 9696540 * VA
12/10    CCD DEBIT, AMERIQUEST CAP PAYMENT OA802395               Ameriquest                Merchant Advance              $ 381.33
                                                                                            Payment
12/10   CCD DEBIT, AMERIQUEST CAP PAYMENT OA802467                    Ameriquest            Merchant Advance              $ 352.00
                                                                                            Payment
12/10   DEBIT POS, AUT 121018 DDA PURCHASE SHELL SERVICE STATION      Shell                 Gas                            $ 41.01
        ALEXANDRIA * VA 4085404019895642
12/10   DEBIT CARD PURCHASE, AUT 120718 VISA DDA PUR PRIME VIDEO      Prime Video           Video Subscription             $ 14.99
        M06QL1QZ2
12/10   CCD DEBIT, AMERIQUEST CAP PAYMENT OA802395                    Ameriquest            Merchant Advance              $ 381.33
                                                                                            Payment
12/10   CCD DEBIT, AMERIQUEST CAP PAYMENT OA802467                    Ameriquest            Merchant Advance              $ 352.00
                                                                                            Payment

12/11   CLOVER APPCLOVER APP MRKT PPD 49.90                                                                                $ 49.90


12/11   DEBIT POS, AUT 121118 DDA PURCHASE CRS OIL INC                Community Car Care    Oil Change                     $ 31.48
12/12   CCD DEBIT, AMERIQUEST CAP PAYMENT OA802395                    Ameriquest            Merchant Advance              $ 381.33
12/12   CCD DEBIT, AMERIQUEST CAP PAYMENT OA802467                    Ameriquest            Merchant Advance              $ 352.00
12/12   DEBIT CARD PURCHASE, AUT 121118 VISA DDA PUR NATIONAL         DC Child Services     D.Cook Child Support          $ 231.62
        PAYMENT SOLUTIO 706 3234097 * GA                                                    Payment
12/12   DEBIT CARD PAYMENT, AUT 121118 VISA DDA PUR INTUIT QB         Quickbooks            Subscription                   $ 37.10
        ONLINE
12/13   ACH SETTLEMENT, ACH BATCH UPPER CUTS GENTL                    Various               Payroll Batch               $ 5,188.20               Page:                                  6 of
                                                                                                                                                 12
                                                                                                                                                 Statement Period:    Dec 01 2018-Dec 31
                                                                                                                                                 2018 Cust Ref #:             4348142061-
                                                                                                                                                 719-E-***
                                                                                                                                                 Primary Account #:              434-
                                                                                                                                                 8142061
12/13   CCD DEBIT, AMERIQUEST CAP PAYMENT OA806081                    Ameriquest            Merchant Advance              $ 381.33
12/13   CCD DEBIT, AMERIQUEST CAP PAYMENT OA806046                    Ameriquest            Merchant Advance              $ 352.00
12/13   CCD DEBIT, AMERIQUEST CAP PAYMENT OA807275                    Ameriquest            Merchant Advance              $ 381.33
12/14   CCD DEBIT, AMERIQUEST CAP PAYMENT OA807243                    Ameriquest            Merchant Advance              $ 352.00
12/14   CCD DEBIT, AMERIQUEST CAP PAYMENT OA808580                    Ameriquest            Merchant Advance              $ 381.33
12/17   CCD DEBIT, AMERIQUEST CAP PAYMENT OA808547                    Ameriquest            Merchant Advance              $ 352.00
12/17   DEBIT POS, AUT 121618 DDA PURCHASE SHELL SERVICE STATION      Shell                 Gas                            $ 25.07
12/17   DEBIT CARD PURCHASE, AUT 121518 VISA DDA PUR COLONIAL         Colonial              Parking                        $ 22.95
        PARKING 128     WASHINGTON * DC 4085404019895642

12/17   DEBIT CARD PURCHASE, AUT 121618 VISA DDA PUR PP GOOGLE        Google Apps           App for store IPAD             $ 18.99
        GOOGLE PLAY    402 935 7733 * CA
12/18   CCD DEBIT, AMERIQUEST CAP PAYMENT OA810647                    Ameriquest            Merchant Advance              $ 381.33
                                                                                            Payment
12/18   CCD DEBIT, AMERIQUEST CAP PAYMENT OA810615                    Ameriquest            Merchant Advance              $ 352.00
12/18   DEBIT POS, AUT 121818 DDA PURCHASE                            Salon Centric         Supplies                       $ 38.59
12/18   DEBIT POS, AUT 121818 DDA PURCHASE HARRIS TE 6351 COLUMBI     Harris Teeter         Supplies                       $ 27.71
12/18   DEBIT CARD PURCHASE, AUT 121718 VISA DDA PUR PAYPAL           Netflix               Subscription                   $ 24.58
12/18   DEBIT POS, AUT 121818 DDA PURCHASE BP 9312331ALEXA            BP                    Gas                            $ 20.00
12/19   CCD DEBIT, AMERIQUEST CAP PAYMENT OA810647                    Ameriquest            Merchant Advance              $ 381.33
12/19   CCD DEBIT, AMERIQUEST CAP PAYMENT OA810615                    Ameriquest            Merchant Advance              $ 352.00
                                                                                            Payment
12/19   DEBIT POS, AUT 121818 DDA PURCHASE HARRIS TE 6351 COLUMBI     Harris Teeter         Supplies                      $ 253.17

12/19   DEBIT POS, AUT 121918 DDA PURCHASE SUNOCO 05340112            Sunoco                Gas                            $ 20.08
12/19   DEBIT POS, AUT 121918 DDA PURCHASE USPS KIOS 4270 JOHN MA     Post Office           Stamps                         $ 10.00

12/20   TD ATM DEBIT, AUT 122018 DDA WITHDRAW                         ATM Withdrawal        Change Order                  $ 400.00
12/20   CCD DEBIT, AMERIQUEST CAP PAYMENT OA811755                    Ameriquest            Merchant Advance              $ 381.33
                                                                                            Payment
12/20   CCD DEBIT, AMERIQUEST CAP PAYMENT OA811728                    Ameriquest            Merchant Advance              $ 352.00
                                                                                            Payment
12/20   DEBIT CARD PURCHASE, AUT 121918 VISA DDA PUR LLC              Boutiques             Hair                           $ 92.00
12/20   DEBIT POS, AUT 121918 DDA PURCHASE SHELL SERVICE STATION      Shell                 Gas                            $ 43.98
12/21   ELECTRONIC PMT-WEB, CHASE CREDIT CRD EPAY 3894691495          Chase                 Credit Card Payment           $ 500.00
12/21   CCD DEBIT, AMERIQUEST CAP PAYMENT OA812874                    Ameriquest            Merchant Advance              $ 381.33
12/21   CCD DEBIT, AMERIQUEST CAP PAYMENT OA812849                    Ameriquest            Merchant Advance              $ 352.00
12/21   DEBIT CARD PURCHASE, AUT 121918 VISA DDA PUR PAYPAL           Bed Bath and Beyond   Supplies                      $ 117.38
12/21   DEBIT POS, AUT 122118 DDA PURCHASE TOTAL WINE A               Total Wine            Beverages                      $ 98.88
12/21   DEBIT CARD PURCHASE, AUT 122018 VISA DDA PUR PAYPAL           Overland              Capes                          $ 69.00
        OVERLAND
12/21   DEBIT POS, AUT 122118 DDA PURCHASE SAFEWAY STORE              Safeway               Supplies                       $ 42.64
12/21   TD ATM DEBIT, AUT 122418 DDA WITHDRAW 119 SOUTH               ATM Withdrawal        Gift Cards                    $ 400.00
        WASHINGTON
        CCD DEBIT, AMERIQUEST CAP PAYMENT OA813906                    Ameriquest            Merchant Advance              $ 381.33
12/24   CCD DEBIT, AMERIQUEST CAP PAYMENT OA813880                    Ameriquest            Merchant Advance              $ 352.00
12/24   ELECTRONIC PMT-WEB, VZ WIRELESS VE VZW WEBPAY 3293599         Verizon               Cellphone Bill                $ 269.70
12/24   DEBIT CARD PURCHASE, AUT 122118 VISA DDA PUR SUNLIGHT NAIL    Sunlight Nails        Supplies                      $ 200.08
12/24   DEBIT POS, AUT 122418 DDA PURCHASE HARRIS TE 6351 COLUMBI     Harris Teeter         Christmas Party supplies      $ 133.80
        FALLS CHURCH * VA 4085404019895642
12/24   DEBIT CARD PURCHASE, AUT 122118 VISA DDA PUR AMZN MKTP US     Amazon                Supplies                       $ 62.13
        M26WB06D0     AMZN COM BILL * WA 4085404019895642

12/24    DEBIT CARD PURCHASE, AUT 122118 VISA DDA PUR COSMOPROF       Comsmoprof            Supplies                       $ 54.04
        6400       ALEXANDRIA * VA 4085404019895642

12/24   DEBIT CARD PURCHASE, AUT 122118 VISA DDA PUR AMZN MKTP US Amazon                    Supplies                       $ 44.35
        M282G5Q61    AMZN COM BILL * WA
12/24   DEBIT CARD PURCHASE, AUT 122118 VISA DDA PUR AMZN MKTP US Amazon                    Supplies                       $ 13.29
        M299I8DR0   AMZN COM BILL * WA 4085404019895642

12/24   DEBIT CARD PURCHASE, AUT 122018 VISA DDA PUR CHICK FIL A      Chick Fil A           Lunch                          $ 12.60

12/26   CCD DEBIT, AMERIQUEST CAP PAYMENT OA814945                    Ameriquest            Merchant Advance              $ 381.33
12/26   CCD DEBIT, AMERIQUEST CAP PAYMENT OA814926                    Ameriquest            Merchant Advance              $ 352.00
12/27   CCD DEBIT, AMERIQUEST CAP PAYMENT OA816044                    Ameriquest            Merchant Advance              $ 381.33
12/27   CCD DEBIT, AMERIQUEST CAP PAYMENT OA816024                    Ameriquest            Merchant Advance              $ 352.00
12/27   TD ATM DEBIT, AUT 122718 DDA WITHDRAW                         ATM Withdrawal        Change Order                  $ 200.00
12/28   CCD DEBIT, AMERIQUEST CAP PAYMENT OA817087                    Ameriquest            Merchant Advance              $ 381.33
12/28   CCD DEBIT, AMERIQUEST CAP PAYMENT OA817068                    Ameriquest            Merchant Advance              $ 352.00
                                                                                            Payment
12/28   DEBIT CARD PAYMENT, AUT 122718 VISA DDA PUR INTUIT QB         Quickbooks            Subscription                   $ 33.39
        ONLINE       800 286 6800 * CA
12/28   DEBIT CARD PURCHASE, AUT 122618 VISA DDA PUR PIZZA HUT        Pizza Hut             Employee Lunch                 $ 20.94
        023516      ALEXANDRIA * VA 4085404020182436
12/31   DEBIT CARD PURCHASE, AUT 122818 VISA DDA PUR UNITED AIR       United Air Temp       HVAC Repairs                $ 1,400.00
        TEMP VIRGIN    703 516 8316 * VA
12/31   CCD DEBIT, AMERIQUEST CAP PAYMENT OA818106                    Ameriquest            Merchant Advance              $ 381.33
                                                                                            Payment
12/31   CCD DEBIT, AMERIQUEST CAP PAYMENT OA818087                    Ameriquest            Merchant Advance              $ 352.00
                                                                                            Payment
12/31   DEBIT CARD PAYMENT, AUT 122818 VISA DDA PUR INTUIT QBOOKS     Quickbooks            Payroll Subscription           $ 36.00
        PROLINE    800 446 8848 * CA
12/31   DEBIT POS, AUT 123118 DDA PURCHASE HARRIS TE 6351 COLUMBI     Harris Teeter         Supplies                       $ 30.80
        FALLS CHURCH * VA 4085404019895642
12/31    DEBIT CARD PURCHASE, AUT 122818 VISA DDA PUR BP              BP                    Gas                            $ 25.00
        9312331ALEXANDRIA BP ALEXANDRIA * VA 4085404019895642

12/31   DEBIT CARD PURCHASE, AUT 122818 VISA DDA PUR PRIME VIDEO      Prime Video           Subscription                    $ 3.99
        M25HV1HH2
                                                                                                                       $ 46,653.22
     Case 18-00781-SMT            Doc 63    Filed 01/24/19 Entered 01/24/19 13:08:04 Desc Main
                                           Document     Page 12 of 26    EXHIBIT E

Maryland Withholding $     1,656.04
DC Withholding          $    336.58
                        $     33.00
IRS 941                 $  9,138.37
Pepco                   $    650.00
Verizon                 $    145.77
Corporate Trust         $  6,800.00
Global Financial        $  2,027.38
Financial Pacific Lease $  2,183.14
Google Email            $     95.83
V&F Coffee              $    266.28
                        $ 23,332.39
   Case 18-00781-SMT    Doc 63                        Date01/24/19
                                  Filed 01/24/19 Entered    12/31/18
                                                                   13:08:04   Page Main 1
                                                                             Desc
                                                      ACCOUNT NUMBER    @XXXXXXXXXXXXXX@
                                 Document     Page 13 of 26


UPPER CUTS GENTLEMEN'S GRROMING PLACE
P O BOX 1861
FALLS CHURCH VA 22041




                       C H E C K I N G     A C C O U N T
 Business Convenient Checking                  NUMBER OF ENCLOSURES                 5
 ACCOUNT NUMBER          @XXXXXXXXXXXXXX@      Statement Dates 12/03/18 thru 12/31/18
 PREVIOUS BALANCE                    2.85-     DAYS THIS STATEMENT PERIOD          29
     7 DEPOSITS/CREDITS          6,183.05      AVERAGE LEDGER BALANCE           39.74-
    40 CHECKS/DEBITS             6,405.96      AVERAGE COLLECTED BAL            39.74-
 SERVICE CHARGE                     10.00
 INTEREST                             .00
 ENDING BALANCE                    235.76-
   _________________________________________________________________________________
 |                                                   |              |                |
 |                                                   |     Total For|          Total|
 |                                                   |   This Period|   Year-to-Date|
 |__________________________________________________|______________|_______________|
 |                                                   |              |                |
 |TOTAL OVERDRAFT FEES                               |        $35.00|      $1,085.00|
 |__________________________________________________|______________|_______________|
 |                                                   |              |                |
 |TOTAL RETURNED ITEM FEES                           |       $735.00|      $1,085.00|
 |__________________________________________________|______________|_______________|
 ============================== SERVICE CHARGE DETAIL ==============================
  DATE     DESCRIPTION                                   AMOUNT
 12/31          Balance Fee                               10.00
 ============================== ACTIVITY IN DATE ORDER =============================
  DATE DESCRIPTION          CHECK#                      AMOUNT             BALANCE
 12/03 RETURNED ITEM FEE                                 35.00-              37.85-
 12/04 ATM CHECKING DEPOSIT                             500.00              462.15
 12/04 RETURNED ITEM FEE                                 35.00-             427.15
 12/04 DBT CRD 1614 12/03/18 HGLIORF2                    56.10-             371.05
           AMAZON.COM
           AMAZON.COM
           SEATTLE       WA
 12/05 DEPOSIT                                          125.00              496.05
 12/05 GSC       GREEN CAPITAL     CCD                  438.00-              58.05
 12/06 ATM CHECKING DEPOSIT                             500.00              558.05
 12/06 GSC       GREEN CAPITAL     CCD                  438.00-             120.05
 12/07 RETURNED ITEM FEE                                 35.00-              85.05
 12/07 RETURNED ITEM FEE                                 35.00-              50.05
 12/10 RETURNED ITEM FEE                                 35.00-              15.05
 Case 18-00781-SMT    Doc 63                        Date01/24/19
                                Filed 01/24/19 Entered    12/31/18
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                                                                           Desc
                                                    ACCOUNT NUMBER    @XXXXXXXXXXXXXX@
                               Document     Page 14 of 26
Business Convenient Checking       @XXXXXXXXXXXXXX@   (Continued)
============================== ACTIVITY IN DATE ORDER =============================
 DATE DESCRIPTION           CHECK#                     AMOUNT             BALANCE
12/10 CASH COUNT/ANALYSIS FEE                           25.00-               9.95-
12/10 RETURNED ITEM FEE                                 35.00-              44.95-
12/11 UCDC       UPPER CUTS GENTLCCD                 1,800.00            1,755.05
12/11 RETURNED ITEM FEE                                 35.00-           1,720.05
12/11 CLOVER APPCLOVER APP MRKT PPD                     49.90-           1,670.15
12/11 SEARSWRNTYCROSS COUNTRY       PPD                 49.99-           1,620.16
12/11 DISCOUNT SUNTRUST MERCHNTCCD                      72.65-           1,547.51
12/11 FEE        SUNTRUST MERCHNTCCD                   102.98-           1,444.53
12/11 INTERCHNG SUNTRUST MERCHNTCCD                    319.61-           1,124.92
12/11 GSC        GREEN CAPITAL     CCD                 438.00-             686.92
12/12 POS CRE 0433 12/12/18 9S6E5HCV                    28.05              714.97
           AMAZON.COM
           REFUNDAMAZON.COM
           SEATTLE       WA
12/12 GSC        GREEN CAPITAL     CCD                 438.00-             276.97
12/13 RETURNED ITEM FEE                                 35.00-             241.97
12/14 RETURNED ITEM FEE                                 35.00-             206.97
12/14 LEASE PYMTFDGL                PPD                101.57-             105.40
12/17 CHECK                 233                      1,956.00-           1,850.60-
12/17 RETURNED ITEM FEE                                 35.00-           1,885.60-
12/17 RETURNED ITEM FEE                                 35.00-           1,920.60-
12/17 RETURNED ITEM FEE                                 35.00-           1,955.60-
12/17 RETURNED ITEM FEE                                 35.00-           1,990.60-
12/17 OVERDRAFT FEE                                     35.00-           2,025.60-
12/18 WIRE TRANSFER CREDIT                           2,750.00              724.40
12/18 WIRE TRANSFER CHARGE                              10.00-             714.40
12/18 GSC        GREEN CAPITAL     CCD                 438.00-             276.40
12/19 FINCL ADJ SUNTRUST MERCHNTCCD                      9.91-             266.49
12/19 RETRY PYMTTHE HARTFORD       CCD                 254.25-              12.24
12/19 RETURNED ITEM FEE                                 35.00-              22.76-
12/20 ATM CHECKING DEPOSIT                             480.00              457.24
12/20 GSC        GREEN CAPITAL     CCD                 438.00-              19.24
12/21 RETURNED ITEM FEE                                 35.00-              15.76-
12/24 RETURNED ITEM FEE                                 35.00-              50.76-
12/24 RETURNED ITEM FEE                                 35.00-              85.76-
12/24 RETURNED ITEM FEE                                 35.00-             120.76-
12/26 RETURNED ITEM FEE                                 35.00-             155.76-
12/27 RETURNED ITEM FEE                                 35.00-             190.76-
12/28 RETURNED ITEM FEE                                 35.00-             225.76-
12/31 TOTAL SERVICE CHARGE                              10.00-             235.76-
============================= SUMMARY BY CHECK NUMBER =============================
 DATE CHECK#         AMOUNT
12/17     233      1,956.00
* DENOTES MISSING CHECK NUMBERS
                           Thank you for banking with us.
Case 18-00781-SMT            Doc 63    Filed 01/24/19 Entered 01/24/19 13:08:04                 Desc Main
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                                                      E       STATEMENT OF ACCOUNT



   UPPER CUTS GENTLEMEN S GROOMING PLACE LL                   Page:                                 1 of 12
   716 14TH ST NW                                             Statement Period:    Dec 01 2018-Dec 31 2018
   WASHINGTON DC 20005-3205                                   Cust Ref #:
                                                              Primary Account #:




TD Business Premier Checking
UPPER CUTS GENTLEMEN S GROOMING PLACE LL                                                  Account #


ACCOUNT SUMMARY
Beginning Balance                    3,951.04                        Average Collected Balance           2,151.57
Deposits                             6,000.00                        Interest Earned This Period             0.00
Electronic Deposits                 51,606.95                        Interest Paid Year-to-Date              0.00
Other Credits                        9,700.00                        Annual Percentage Yield Earned        0.00%
                                                                     Days in Period                            31
Checks Paid                         18,414.68
Electronic Payments                 35,154.41
Other Withdrawals                   13,954.79
Service Charges                         30.00
Ending Balance                       3,704.11



DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE     DESCRIPTION                                                                                AMOUNT
12/06            DEPOSIT                                                                                 3,000.00
12/07            DEPOSIT                                                                                 3,000.00
                                                                                    Subtotal:            6,000.00
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                                AMOUNT
12/03            CCD DEPOSIT, TD MERCHANT SVS DEPOSIT 958220476880                                       2,609.09
12/03            CCD DEPOSIT, TD MERCHANT SVS DEPOSIT 958220476880                                       1,105.00
12/03            CCD DEPOSIT, TD MERCHANT SVS DEPOSIT 958220476880                                         419.60
12/04            CCD DEPOSIT, TD MERCHANT SVS DEPOSIT 958220476880                                       1,487.39
12/05            CCD DEPOSIT, TD MERCHANT SVS DEPOSIT 958220476880                                       1,910.80
12/06            CCD DEPOSIT, TD MERCHANT SVS DEPOSIT 958220476880                                       1,332.20
12/07            CCD DEPOSIT, TD MERCHANT SVS DEPOSIT 958220476880                                       2,273.20
12/10            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                              2,643.61
12/10            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                              1,019.95
12/10            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                319.00
12/11            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                              1,837.51
12/12            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                              2,080.00
12/13            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                              1,538.67
12/13            ATM CASH DEPOSIT, AUT 121318 ATM CASH DEPOSIT                                           2,150.00
                      6566 LITTLE RIVER TURNPI   ALEXANDRIA   * VA
                      4085404019895642
12/14            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                              1,841.52



Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                2 of 12

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           3,704.11
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                                            STATEMENT OF ACCOUNT


   UPPER CUTS GENTLEMEN S GROOMING PLACE LL
                                                                            Page:                                          3 of 12
                                                                            Statement Period:             Dec 01 2018-Dec 31 2018
                                                                            Cust Ref #:
                                                                            Primary Account #:




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE     DESCRIPTION                                                                                                                   AMOUNT
12/14            ATM CHECK DEPOSIT, AUT 121418 ATM CHECK DEPOSI                                                                                240.00
                   6566 LITTLE RIVER TURNPI            ALEXANDRIA           * VA
                   4085404019895642
12/17            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                2,898.55
12/17            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                1,464.83
12/17            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                  647.30
12/18            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                1,925.62
12/19            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                2,490.85
12/20            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                1,951.52
12/21            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                2,154.15
12/24            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                2,150.90
12/24            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                1,192.60
12/24            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                  452.10
12/26            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                1,657.42
12/27            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                  828.62
12/28            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                1,514.70
12/31            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                2,365.65
12/31            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                1,090.75
12/31            MERCHANT SERVICES CR, TD MERCHANT SVS DEPOSIT 958220476880                                                                  683.85
12/31            ATM CASH DEPOSIT, AUT 123118 ATM CASH DEPOSIT                                                                             1,330.00
                   119 SOUTH WASHINGTON STR                 ALEXANDRIA            * VA
                   4085404019895642

                                                                                                            Subtotal:                    51,606.95
Other Credits
POSTING DATE     DESCRIPTION                                                                                                                   AMOUNT
12/07            DEPOSIT TRANSFER, From Checking 4348139109                                                                                7,500.00
12/07            DEPOSIT TRANSFER, From Checking 4354032975                                                                                2,200.00
                                                                                                            Subtotal:                      9,700.00
Checks Paid      No. Checks: 13   *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE            SERIAL NO.                 AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
12/04           1236                      1,277.40                                12/14                  1260*                                 978.49
12/10           1243*                        238.30                               12/17                  1261                                  348.63
12/06           1244                      1,117.00                                12/24                  1263*                                 162.08
12/06           1245                    10,000.00                                 12/31                  1271*                                 781.28
12/10           1247*                     1,121.78                                12/31                  1272                                  400.00
12/07           1250*                        858.07                               12/13                  9000*                                 600.00
12/07           1251                         531.65
                                                                                                            Subtotal:                    18,414.68

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Electronic Payments
POSTING DATE   DESCRIPTION                                                                            AMOUNT
12/03          DEBIT CARD PURCHASE, AUT 112918 VISA DDA PUR                                               757.95
                 PEPCO SPEEDPAY           202 833 7500 * DC
                 4085404019895642
12/03          CCD DEBIT, TD MERCHANT SVS INTERCHNG 958220476880                                          588.53
12/03          CCD DEBIT, AMERIQUEST CAP PAYMENT OA796997                                                 381.33
12/03          CCD DEBIT, AMERIQUEST CAP PAYMENT OA796562                                                 352.00
12/03          DEBIT POS, AUT 120318 DDA PURCHASE                                                         268.98
                 RESTAURANT DEPOT           ALEXANDRIA   * VA
                 4085404019895642
12/03          CCD DEBIT, TD MERCHANT SVS FEE 958220476880                                                113.11
12/03          DEBIT CARD PURCHASE, AUT 120118 VISA DDA PUR                                                95.83
                 GOOGLE GSUITE UPPERCU         CC GOOGLE COM * CA
                 4085404020182436
12/03          DEBIT CARD PURCHASE, AUT 113018 VISA DDA PUR                                                54.19
                 FACEBK BJKNUG2Z72          650 5434800 * CA
                 4085404020182436
12/03          CCD DEBIT, TD MERCHANT SVS DISCOUNT 958220476880                                            49.86
12/03          DEBIT CARD PURCHASE, AUT 112918 VISA DDA PUR                                                43.78
                 AMZN MKTP US M03RS4M61       AMZN COM BILL * WA
                 4085404019895642
12/04          CCD DEBIT, AMERIQUEST CAP PAYMENT OA798119                                                 381.33
12/04          CCD DEBIT, AMERIQUEST CAP PAYMENT OA797709                                                 352.00
12/04          DEBIT POS, AUT 120418 DDA PURCHASE                                                         104.67
                 HARRIS TE 6351 COLUMBI      FALLS CHURCH * VA
                 4085404020182436
12/05          TD ATM DEBIT, AUT 120518 DDA WITHDRAW                                                      400.00
                 6566 LITTLE RIVER TURNPI   ALEXANDRIA    * VA
                 4085404019895642
12/05          CCD DEBIT, AMERIQUEST CAP PAYMENT OA799069                                                 381.33
12/05          CCD DEBIT, AMERIQUEST CAP PAYMENT OA798934                                                 352.00
12/05          ACH DEBIT, FDGL LEASE PYMT 052-1540026-000                                                 138.81
12/05          DEBIT CARD PURCHASE, AUT 120418 VISA DDA PUR                                                53.00
                 V F COFFEE INC       703 5699500 * VA
                 4085404019895642
12/05          DEBIT CARD PURCHASE, AUT 120418 VISA DDA PUR                                                26.50
                 V F COFFEE INC       703 5699500 * VA
                 4085404019895642
12/06          ACH SETTLEMENT, ACH BATCH                                                             2,498.67
                 UPPER CUTS GENTL
12/06          ACH SETTLEMENT, ACH BATCH                                                             1,615.59
                 UPPER CUTS GENTL
12/06          CCD DEBIT, AMERIQUEST CAP PAYMENT OA800224                                                 381.33
12/06          CCD DEBIT, AMERIQUEST CAP PAYMENT OA800106                                                 352.00



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Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                            AMOUNT
12/06           DEBIT POS, AUT 120618 DDA PURCHASE                                                          55.78
                 SUNOCO 06952436          ALEXANDRIA   * VA
                 4085404019895642
12/06           DEBIT POS, AUT 120618 DDA PURCHASE                                                           5.81
                 SHELL SERVICE STATION      ALEXANDRIA     * VA
                 4085404019895642
12/07           ELECTRONIC PMT-WEB, CHASE CREDIT CRD EPAY 3874890153                                       500.00
12/07           CCD DEBIT, AMERIQUEST CAP PAYMENT OA801315                                                 381.33
12/07           CCD DEBIT, AMERIQUEST CAP PAYMENT OA801381                                                 352.00
12/07           ELECTRONIC PMT-WEB, CITI CARD ONLINE PAYMENT 112823011979302                               300.00
12/07           DEBIT POS, AUT 120718 DDA PURCHASE                                                          64.22
                 HARRIS TE 4641 DUKE ST     ALEXANDRIA     * VA
                 4085404019895642
12/07           DEBIT POS, AUT 120718 DDA PURCHASE                                                          45.00
                 WAG BREW BOUTIQUE          ALEXANDRIA     * VA
                 4085404019895642
12/10           ACH SETTLEMENT, ACH BATCH                                                             1,800.00
                 UPPER CUTS GENTL
12/10           DEBIT CARD PURCHASE, AUT 120718 VISA DDA PUR                                               600.00
                 AP LAW GROUP          571 9696540 * VA
                 4085404019895642
12/10           CCD DEBIT, AMERIQUEST CAP PAYMENT OA802395                                                 381.33
12/10           CCD DEBIT, AMERIQUEST CAP PAYMENT OA802467                                                 352.00
12/10           DEBIT POS, AUT 121018 DDA PURCHASE                                                          41.01
                 SHELL SERVICE STATION      ALEXANDRIA     * VA
                 4085404019895642
12/10           DEBIT CARD PURCHASE, AUT 120718 VISA DDA PUR                                                14.99
                 PRIME VIDEO M06QL1QZ2      888 802 3080 * WA
                 4085404019895642
12/11           CCD DEBIT, AMERIQUEST CAP PAYMENT OA803509                                                 381.33
12/11           CCD DEBIT, AMERIQUEST CAP PAYMENT OA803574                                                 352.00
12/11           DEBIT POS, AUT 121118 DDA PURCHASE                                                          31.48
                 CRS OIL INC         FAIRFAX    * VA
                 4085404020182436
12/12           CCD DEBIT, AMERIQUEST CAP PAYMENT OA804727                                                 381.33
12/12           CCD DEBIT, AMERIQUEST CAP PAYMENT OA804697                                                 352.00
12/12           DEBIT CARD PURCHASE, AUT 121118 VISA DDA PUR                                               231.62
                 NATIONAL PAYMENT SOLUTIO      706 3234097 * GA
                 4085404020182436
12/12           DEBIT CARD PAYMENT, AUT 121118 VISA DDA PUR                                                 37.10
                 INTUIT QB ONLINE      800 286 6800 * CA
                 4085404019895642
12/13           ACH SETTLEMENT, ACH BATCH                                                             5,188.20
                 UPPER CUTS GENTL


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Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                             AMOUNT
12/13           CCD DEBIT, AMERIQUEST CAP PAYMENT OA806081                                                  381.33
12/13           CCD DEBIT, AMERIQUEST CAP PAYMENT OA806046                                                  352.00
12/14           CCD DEBIT, AMERIQUEST CAP PAYMENT OA807275                                                  381.33
12/14           CCD DEBIT, AMERIQUEST CAP PAYMENT OA807243                                                  352.00
12/17           CCD DEBIT, AMERIQUEST CAP PAYMENT OA808580                                                  381.33
12/17           CCD DEBIT, AMERIQUEST CAP PAYMENT OA808547                                                  352.00
12/17           DEBIT POS, AUT 121618 DDA PURCHASE                                                           25.07
                 SHELL SERVICE STATION       ALEXANDRIA         * VA
                 4085404020182436
12/17           DEBIT CARD PURCHASE, AUT 121518 VISA DDA PUR                                                 22.95
                 COLONIAL PARKING 128       WASHINGTON          * DC
                 4085404019895642
12/17           DEBIT CARD PURCHASE, AUT 121618 VISA DDA PUR                                                 18.99
                 PP GOOGLE GOOGLE PLAY         402 935 7733 * CA
                 4085404019895642
12/18           CCD DEBIT, AMERIQUEST CAP PAYMENT OA809581                                                  381.33
12/18           CCD DEBIT, AMERIQUEST CAP PAYMENT OA809551                                                  352.00
12/18           DEBIT POS, AUT 121818 DDA PURCHASE                                                           38.59
                 ALEXANDRIA DUKE          ALEXANDRIA      * VA
                 4085404019895642
12/18           DEBIT POS, AUT 121818 DDA PURCHASE                                                           27.71
                 HARRIS TE 6351 COLUMBI      FALLS CHURCH * VA
                 4085404020182436
12/18           DEBIT CARD PURCHASE, AUT 121718 VISA DDA PUR                                                 24.58
                 PAYPAL NETFLIX COM         4029357733    * CA
                 4085404019895642
12/18           DEBIT POS, AUT 121818 DDA PURCHASE                                                           20.00
                 BP 9312331ALEXA        ALEXANDRIA       * VA
                 4085404020182436
12/19           CCD DEBIT, AMERIQUEST CAP PAYMENT OA810647                                                  381.33
12/19           CCD DEBIT, AMERIQUEST CAP PAYMENT OA810615                                                  352.00
12/19           DEBIT POS, AUT 121918 DDA PURCH W/CB                                                        253.17
                 HARRIS TE 6351 COLUMBI      FALLS CHURCH * VA
                 4085404020182436
12/19           DEBIT POS, AUT 121918 DDA PURCHASE                                                           20.08
                 SUNOCO 05340112          ANNANDALE      * VA
                 4085404020182436
12/19           DEBIT POS, AUT 121918 DDA PURCHASE                                                           10.00
                 USPS KIOS 4270 JOHN MA      ANNANDALE          * VA
                 4085404020182436
12/20           TD ATM DEBIT, AUT 122018 DDA WITHDRAW                                                       400.00
                 6566 LITTLE RIVER TURNPI    ALEXANDRIA     * VA
                 4085404019895642
12/20           CCD DEBIT, AMERIQUEST CAP PAYMENT OA811755                                                  381.33


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Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                             AMOUNT
12/20           CCD DEBIT, AMERIQUEST CAP PAYMENT OA811728                                                  352.00
12/20           DEBIT CARD PURCHASE, AUT 121918 VISA DDA PUR                                                 92.00
                 PAWTIQUES LLC             ANNANDALE     * VA
                 4085404020182436
12/20           DEBIT POS, AUT 121918 DDA PURCHASE                                                           43.98
                 SHELL SERVICE STATION        ALEXANDRIA        * VA
                 4085404020182436
12/21           ELECTRONIC PMT-WEB, CHASE CREDIT CRD EPAY 3894691495                                        500.00
12/21           CCD DEBIT, AMERIQUEST CAP PAYMENT OA812874                                                  381.33
12/21           CCD DEBIT, AMERIQUEST CAP PAYMENT OA812849                                                  352.00
12/21           DEBIT CARD PURCHASE, AUT 121918 VISA DDA PUR                                                117.38
                 PAYPAL BEDBATHBEY           402 935 7733 * NJ
                 4085404019895642
12/21           DEBIT POS, AUT 122118 DDA PURCHASE                                                           96.88
                 TOTAL WINE AND MORE 203       ALEXANDRIA        * VA
                 4085404019895642
12/21           DEBIT CARD PURCHASE, AUT 122018 VISA DDA PUR                                                 69.00
                 PAYPAL OVERLAND            402 935 7733 * IA
                 4085404019895642
12/21           DEBIT POS, AUT 122118 DDA PURCHASE                                                           42.64
                 SAFEWAY STORE      3250     ALEXANDRIA     * VA
                 4085404019895642
12/24           TD ATM DEBIT, AUT 122418 DDA WITHDRAW                                                       400.00
                 119 SOUTH WASHINGTON STR        ALEXANDRIA        * VA
                 4085404019895642
12/24           CCD DEBIT, AMERIQUEST CAP PAYMENT OA813906                                                  381.33
12/24           CCD DEBIT, AMERIQUEST CAP PAYMENT OA813880                                                  352.00
12/24           ELECTRONIC PMT-WEB, VZ WIRELESS VE VZW WEBPAY 3293599                                       269.70
12/24           DEBIT CARD PURCHASE, AUT 122118 VISA DDA PUR                                                200.08
                 SUNLIGHT NAIL AND BEAUTY       FALLS CHURCH * VA
                 4085404019895642
12/24           DEBIT POS, AUT 122418 DDA PURCHASE                                                          133.80
                 HARRIS TE 6351 COLUMBI       FALLS CHURCH * VA
                 4085404019895642
12/24           DEBIT CARD PURCHASE, AUT 122118 VISA DDA PUR                                                 62.13
                 AMZN MKTP US M26WB06D0         AMZN COM BILL * WA
                 4085404019895642
12/24           DEBIT CARD PURCHASE, AUT 122118 VISA DDA PUR                                                 54.04
                 COSMOPROF 6400            ALEXANDRIA     * VA
                 4085404019895642
12/24           DEBIT CARD PURCHASE, AUT 122118 VISA DDA PUR                                                 44.35
                 AMZN MKTP US M282G5Q61        AMZN COM BILL * WA
                 4085404019895642




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Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                              AMOUNT
12/24           DEBIT CARD PURCHASE, AUT 122118 VISA DDA PUR                                                13.29
                 AMZN MKTP US M299I8DR0      AMZN COM BILL * WA
                 4085404019895642
12/24           DEBIT CARD PURCHASE, AUT 122018 VISA DDA PUR                                                12.60
                 CHICK FIL A 02774     SPRINGFIELD * VA
                 4085404019895642
12/26           CCD DEBIT, AMERIQUEST CAP PAYMENT OA814945                                                 381.33
12/26           CCD DEBIT, AMERIQUEST CAP PAYMENT OA814926                                                 352.00
12/27           CCD DEBIT, AMERIQUEST CAP PAYMENT OA816044                                                 381.33
12/27           CCD DEBIT, AMERIQUEST CAP PAYMENT OA816024                                                 352.00
12/27           TD ATM DEBIT, AUT 122718 DDA WITHDRAW                                                      200.00
                 6566 LITTLE RIVER TURNPI   ALEXANDRIA       * VA
                 4085404019895642
12/28           CCD DEBIT, AMERIQUEST CAP PAYMENT OA817087                                                 381.33
12/28           CCD DEBIT, AMERIQUEST CAP PAYMENT OA817068                                                 352.00
12/28           DEBIT CARD PAYMENT, AUT 122718 VISA DDA PUR                                                 33.39
                 INTUIT QB ONLINE      800 286 6800 * CA
                 4085404019895642
12/28           DEBIT CARD PURCHASE, AUT 122618 VISA DDA PUR                                                20.94
                 PIZZA HUT 023516      ALEXANDRIA     * VA
                 4085404020182436
12/31           DEBIT CARD PURCHASE, AUT 122818 VISA DDA PUR                                          1,400.00
                 UNITED AIR TEMP VIRGIN     703 516 8316 * VA
                 4085404019895642
12/31           CCD DEBIT, AMERIQUEST CAP PAYMENT OA818106                                                 381.33
12/31           CCD DEBIT, AMERIQUEST CAP PAYMENT OA818087                                                 352.00
12/31           DEBIT CARD PAYMENT, AUT 122818 VISA DDA PUR                                                 36.00
                 INTUIT QBOOKS PROLINE      800 446 8848 * CA
                 4085404019895642
12/31           DEBIT POS, AUT 123118 DDA PURCHASE                                                          30.80
                 HARRIS TE 6351 COLUMBI     FALLS CHURCH * VA
                 4085404019895642
12/31           DEBIT CARD PURCHASE, AUT 122818 VISA DDA PUR                                                25.00
                 BP 9312331ALEXANDRIA BP     ALEXANDRIA       * VA
                 4085404019895642
12/31           DEBIT CARD PURCHASE, AUT 122818 VISA DDA PUR                                                 3.99
                 PRIME VIDEO M25HV1HH2       888 802 3080 * WA
                 4085404019895642

                                                                                 Subtotal:           35,154.41




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Other Withdrawals
POSTING DATE      DESCRIPTION                                                                          AMOUNT
12/03             WIRE TRANSFER OUTGOING, Mark McIntosh                                             2,000.00
12/03             WIRE TRANSFER FEE                                                                    25.00
12/06             WIRE TRANSFER OUTGOING, Indique Hair LLC                                          2,500.00
12/06             WIRE TRANSFER OUTGOING, Indique Hair LLC                                            154.79
12/06             WIRE TRANSFER FEE                                                                    25.00
12/06             WIRE TRANSFER FEE                                                                    25.00
12/07             OVERDRAFT PD                                                                         70.00
12/07             ACH BATCH CHARGE, ACH CHARGE                                                         10.00
                    SBIB
12/07             ACH BATCH CHARGE, ACH CHARGE                                                           10.00
                    SBIB
12/11             ACH BATCH CHARGE, ACH CHARGE                                                           10.00
                    SBIB
12/14             OVERDRAFT PD                                                                           70.00
12/14             ACH BATCH CHARGE, ACH CHARGE                                                           10.00
                    SBIB
12/17             OVERDRAFT PD                                                                         70.00
12/18             WIRE TRANSFER OUTGOING, Upper Cuts of Alexandria                                  2,750.00
12/18             WIRE TRANSFER FEE                                                                    25.00
12/27             DEBIT                                                                             6,000.00
12/27             WITHDRAWAL TRANSFER, To Checking 4361610665                                         200.00
                                                                               Subtotal:           13,954.79
Service Charges
POSTING DATE      DESCRIPTION                                                                          AMOUNT
12/31             MAINTENANCE FEE                                                                        30.00
                                                                               Subtotal:                 30.00


DAILY BALANCE SUMMARY
DATE                                BALANCE                    DATE                                 BALANCE
11/30                             3,951.04                     12/17                                3,559.83
12/03                             3,354.17                     12/18                                1,866.24
12/04                             2,726.16                     12/19                                3,340.51
12/05                             3,285.32                     12/20                                4,022.72
12/06                           -11,113.45                     12/21                                4,617.64
12/07                               737.48                     12/24                                6,327.84
12/10                               170.63                     12/26                                7,251.93
12/11                             1,233.33                     12/27                                  947.22



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DATE                             BALANCE                  DATE                                 BALANCE
12/12                            2,311.28                 12/28                                1,674.26
12/13                             -521.58                 12/31                                3,704.11
12/14                             -231.88




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#1236       12/04        $1,277.40               #1243        12/10           $238.30




#1244       12/06        $1,117.00               #1245        12/06           $10,000.00




#1247       12/10        $1,121.78               #1250        12/07           $858.07




#1251       12/07        $531.65                 #1260        12/14           $978.49




#1261       12/17        $348.63                 #1263        12/24           $162.08
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#1271       12/31        $781.28                 #1272        12/31           $400.00




#9000       12/13        $600.00
